
686 S.E.2d 681 (2009)
STATE of North Carolina
v.
William Raynard FULTON.
No. 272P09.
Supreme Court of North Carolina.
November 5, 2009.
Marc Bernstein, Special Deputy Attorney General, for State.
William Raynard Fulton, pro se.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant-Appellant on the 2nd of July 2009 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 5th of November 2009."
Upon consideration of the petition filed on the 2nd of July 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th of November 2009."
